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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

Legacy IMBDS, Inc. et al.,1                             Case No. 23-10852 (KBO)

                              Debtors.                  (Jointly Administered)


Synacor, Inc.,
                                                        Adv. Proc. No. 23-50753 (KBO)
                              Plaintiff,

         v.

IV Media, LLC; Innovation Ventures, LLC; Portal
Acquisition Co.; iMedia Brands, Inc.; ValueVision
Interactive, Inc.; VVI Fulfillment Center, Inc.;
ValueVision Retail Inc.; JWH Acquisition
Company; PW Acquisition Company, LLC; EP
Properties, LLC; FL Acquisition Company; Norwell
Television, LLC; 867 Grand Avenue, LLC; and             Ref. Docket Nos. 11, 20
Unidentified Parties, 1-25,

                              Defendants.


              AMENDED NOTICE OF EXTENSION OF DEADLINE FOR THE
               RULE 26(f) CONFERENCE AND PRE-TRIAL CONFERENCE

         PLEASE TAKE NOTICE that, on December 15, 2023, the Court entered the Order

Approving Stipulation by and between Plaintiff and Defendants Extending the Deadline for the

Rule 26(f) Conference and Pre-Trial Conference [Docket No. 11] (the “Stipulation Order”).2



         1
              The Debtors in these chapter 11 cases, along with the last four digits of each
Debtor’s federal tax identification number are: ValueVision Media Acquisitions, Inc. (8670);
Legacy IMBDS, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition
Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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       PLEASE TAKE NOTICE that, pursuant to paragraph 3 of the Stipulation Order, the

Rule 26(f) and Pre-Trial Conference deadlines may be further extended upon the written consent

of the Stipulation Parties.

       PLEASE TAKE NOTICE that the Stipulation Parties have each consented in writing to

a further extension of the Pre-Trial Conference currently scheduled for January 23, 2024 at 9:30

a.m. (EST) [Docket No. 20] to February 21, 2024 at 9:30 a.m. (EST). Accordingly, the Pre-Trial

Conference is adjourned to February 21, 2024 at 9:30 a.m. (EST).

       PLEASE TAKE NOTICE that all obligations attendant to the Rule 26(f) Conference

pursuant to the Delaware Bankruptcy Court Local Rules, including Rules 7016-1 and 7026-3, are

likewise extended.




                              [Remainder of Page Intentionally Left Blank]




       2
               Capitalized terms not otherwise defined here in have the meanings ascribed to
such terms in the Stipulation or Certification, as applicable.

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Dated: January 18, 2024

PACHULSKI STANG ZIEHL & JONES                     GIBBONS P.C.
LLP

/s/ Laura Davis Jones                             /s/ Christopher Viceconte
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Counsel for Non-Debtor Defendants


Dated: January 18, 2024




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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this 18th day of January 2024, a true and correct

copy of the foregoing Notice of Extension of Deadline for the Rule 26(f) Conference and Pre-

Trial Conference was caused to be served via CM/ECF on all parties who have registered for

electronic service in this case.


Dated: January 18, 2024
       Wilmington, Delaware
                                                     /s/ Christopher Viceconte
                                                     Christopher Viceconte (No. 5568)
                                                     Gibbons, P.C.




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